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       MASIMO CORPORATION and CERCACOR LABORATORIES, INC.
15
                           IN THE UNITED STATES DISTRICT COURT
16                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                    SOUTHERN DIVISION
17
        MASIMO CORPORATION,                    ) Case No. 8:20-cv-00048-JVS-JDE
18      a Delaware corporation; and            )
        CERCACOR LABORATORIES, INC.,           ) MASIMO’S STATUS REPORT
19      a Delaware corporation                 ) REGARDING NARROWING
                                               )
20                  Plaintiffs,                ) PROPOSAL PURSUANT TO JUNE 27
                                               ) TENTATIVE ORDER
21            v.                               )
                                               ) Hon. James V. Selna
22      APPLE INC., a California corporation   )
                                               )
23                  Defendant.                 )
                                               )
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1            The June 27 Tentative Order suggested the parties file narrowing proposals, but
2      the Court has not issued a final order to that effect. For the Court’s convenience,
3      Masimo provides the following update on the parties’ discussions:
4            On July 5, Masimo supplemented its infringement contentions, narrowing the
5      number of asserted claims from 38 to 15.
6            Masimo understands the parties agree that, by July 10, Apple will identify its
7      specific obviousness combinations for each asserted claim and narrow the total number
8      of references for all claims to five base references and fifteen secondary references.
9            The parties have not agreed on the total number of asserted claims or number of
10     obviousness combinations. Masimo’s proposal on the two disputed issues is as follows:
11               Masimo proposes that its narrowing to 15 total asserted claims is sufficient
12                  at this time.
13               Masimo proposes that, by July 10, Apple should narrow to no more than
14                  four obviousness combinations per asserted claim, counted according to
15                  the four numbered paragraphs of Altera Corp. v. PACT XPP Techs., AG,
16                  2015 WL 3830982, at *2-*3 (N.D. Cal. June 19, 2015), as directed on
17                  pages 11-12 of the Tentative Order.
18
19                                          KNOBBE, MARTENS, OLSON & BEAR, LLP
20
        Dated: July 7, 2024                        By: /s/ Adam B. Powell
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22                                                     Sheila N. Swaroop
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27                                                      CERCACOR LABORATORIES, INC.
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